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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PAUL J. MANAFORT, JR.,

                                      Plaintiff,

                          v.
                                                                No. 1:18-cv-00011-ABJ
 U.S. DEPARTMENT OF JUSTICE, ROD J.
 ROSENSTEIN, and ROBERT S. MUELLER III,

                                     Defendants.



  DEFENDANTS’ MEMORANDUM IN OPPOSITION TO MOTION TO INTERVENE
                 BY DAVID ANDREW CHRISTENSON

       Pro se litigant David Andrew Christenson has filed a motion to intervene in the above-

captioned matter. The motion should be denied because it does not satisfy the requirements for

intervention set forth in Federal Rule of Civil Procedure 24.

                                        BACKGROUND

       Prior to his motion in this action, Mr. Christenson sought to intervene in the Department of

Justice’s criminal prosecution of Plaintiff. See United States v. Manafort, No. 17-cr-201-ABJ

(D.D.C.), ECF No. 53 (denying leave to file and noting that “Mr. Christenson, the movant, is not

a party to this case.”); see also id., Minute Order of Nov. 29, 2017. On January 26, 2018, Mr.

Christenson moved to intervene in this civil action. See ECF No. 15 (Mot. to Intervene). He

subsequently filed a supplemental memorandum regarding his intervention motion. See ECF No.

17 (Supp. Mem.).

       Mr. Christenson’s motion states that it seeks to “incorporate the Motion to Intervene filed

by Freedom Watch/Larry Klayman on January 23rd, 2018[.]” Mot. to Intervene at 1. Mr.

Christenson’s motion also discusses several matters unrelated to the present civil action, see id.
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at 1-2, and contains approximately 80 pages of exhibits, which primarily appear to be copies of

documents that Mr. Christenson has sought to file in other court proceedings, see id. at 3-89. The

Government now files this opposition to Mr. Christenson’s motion to intervene.

                                           ARGUMENT

       To the extent Mr. Christenson simply seeks to join or support the motion to intervene

previously filed by Freedom Watch Inc., see ECF No. 9, the Government hereby opposes such

intervention for all of the reasons previously set forth in its opposition to that intervention motion.

See ECF No. 18. To the extent the Court construes Mr. Christenson’s filing as seeking intervention

in his own name or on some additional basis, that request also should be denied, for several reasons.

       First, Mr. Christenson has failed to comply with Rule 24(c), which requires that a motion

for intervention “be accompanied by a pleading that sets out the claim or defense for which

intervention is sought.” Fed. R. Civ. P. 24(c). Absent this pleading, it is particularly difficult to

discern the precise claim(s) that Mr. Christenson seeks to advance here. Thus, the motion should

be denied on this basis alone. See Brown v. Colegio de Abogados de Puerto Rico, 277 F.R.D. 73,

76 (D.P.R. 2011) (denying intervention for failure to attach a pleading because “[t]he requirements

under Rule 24(c) are mandatory”).

       Second, Mr. Christenson’s motion and supplemental memorandum largely discuss matters

that are wholly unrelated to the Plaintiff’s claims here. See Mot. to Intervene at 1-2; Supp. Mem.

at 1-2. Even if the Court could discern the precise claim(s) that Mr. Christenson seeks to advance,

therefore, those claims would not constitute “a legally protected interest in the action” as required

for intervention as-of-right under Rule 24(a), see SEC v. Prudential Sec., Inc., 136 F.3d 153, 156

(D.C. Cir. 1998), nor would they constitute “a claim or defense that shares with the main action a

common question of law or fact” as required for permissive intervention under Rule 24(b).

Similarly, Mr. Christenson’s motion does not establish that he possesses Article III standing to
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pursue any claims related to the various matters of public interest discussed in his motion. See

Keepseagle v. Vilsack, 307 F.R.D. 233, 245 (D.D.C. 2014) (holding that a putative intervenor’s

“lack of standing also dooms their request for permissive intervention” (citation omitted)); Jones

v. Prince George’s Cnty., Md., 348 F.3d 1014, 1017 (D.C. Cir. 2003) (“In addition to satisfying the

four elements of Rule 24” for intervention as of right, “prospective intervenors in this circuit must

possess standing under Article III[.]”); see also Town of Chester, N.Y. v. Laroe Estates, Inc., 137

S. Ct. 1645, 1651 (2017) (“[A]n intervenor of right must have Article III standing in order to pursue

relief that is different from that which is sought by a party with standing.”).

       Finally, Mr. Christenson does not satisfy any of the other elements necessary for

intervention. To the extent he seeks intervention as of right, he does not explain how resolution of

Plaintiff’s claims “may as a practical matter impair or impede [his] ability to protect [his] interest,”

or how the “existing parties” are inadequate to “represent that interest.” Fed. R. Civ. P. 24(a)(2);

see also Wildearth Guardians v. Salazar, 272 F.R.D. 4, 13 (D.D.C. 2010). And with respect to

permissive intervention under Rule 24(b), Mr. Christenson’s lengthy and difficult to understand

filings would likely “unduly delay or prejudice the adjudication of the original parties’ rights.”

Fed. R. Civ. P. 24(b)(3).

       Because Mr. Christenson’s motion does not meet the requirements for either type of

intervention under the Federal Rules of Civil Procedure, Defendants respectfully request that the

motion be denied.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Mr. Christenson’s motion to intervene.


Dated: February 13, 2018                                Respectfully submitted,

                                                        JOHN R. TYLER
                                                        Assistant Director
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                                   /s/ Anjali Motgi____________
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